     Case 2:17-cv-00618-JNP Document 14 Filed 09/05/17 PageID.115 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH


SAMUEL BURNINGHAM,                                Case No. 2:17-cv-00618-JNP-DBP

                       Plaintiff,                 ORDER GRANTING STIPULATED
v.                                                MOTION TO DISMISS

NORDSTROM, INC., d.b.a. NORDSTROM                 District Judge Jill N. Parrish
RACK,

                       Defendant.




         A Stipulation for Dismissal was filed in this matter on August 17, 2017. Good cause

appearing, it is hereby ORDERED that the Stipulated Motion is GRANTED and this case is

dismissed with prejudice. Each party shall bear its own fees and costs.

         IT IS SO ORDERED.

         Signed September 5, 2017.

                                             BY THE COURT



                                             ______________________________
                                             Jill N. Parrish
                                             United States District Court Judge
